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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

TRAVIS TERRY,

      Plaintiff,
                                              No. 17-cv-00671
v
                                              HON. ROBERT J. JONKER
MICHIGAN DEPARTMENT
OF CORRECTIONS,

      Defendant.
_____________________________________________________________________________

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_____________________________________________________________________________

                   DEFENDANT’S BRIEF IN SUPPORT OF
                    MOTION FOR PROTECTIVE ORDER
                      UNDER FED. R. CIV. P. 26(c)(1)




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                                          Attorney General


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Dated: June 5, 2018                       (517) 373-1162
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            CONCISE STATEMENT OF ISSUES PRESENTED

1.   Should this Court enter a protective order protecting the material disclosed
     by the Defendant, Michigan Department of Corrections, during this case?




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           CONTROLLING OR MOST APPROPRIATE AUTHORITY


Fed. R. Civ. Pro. 26.




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                                STATEMENT OF FACTS
       Plaintiff, Travis Terry, a former Michigan Department of Corrections

employee brings a two-count Title VII case against the Defendant, the Michigan

Department of Corrections (“MDOC”). Plaintiff alleges MDOC violated Title VII

and retaliated against him in violation of Title VII. Pursuant to the governing case

management order the parties are engaging in discovery. Initial Disclosures were

made and written discovery requests are presently pending.


       This case involves the discharge of the Plaintiff from his employment as a

Corrections Officer with MDOC. The incident, which was the focus of the

disciplinary investigation that resulted in the Plaintiff’s discharge, occurred within

a correctional facility, a prison, run by MDOC. Plaintiff’s discovery requests,

appropriately asks for a variety of information and documents that address matters

related to the safety and security of the correctional facility. Accordingly,

information that is relevant and should be produced in discovery by MDOC will

reveal information about the security and safety measures of a MDOC correctional

facility. Therefore, as MDOC continues to have daily responsibility of the security

for numerous correctional facilities and thousands of prisoners, a protective order to

restrict the use and dissemination of the discovery material produced by MDOC in

this litigation is necessary.




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                                     ARGUMENT

      Under the Federal Rules of Civil Procedure, specifically under Rule 26(c)(1),

this Court is given broad discretion to place limits on discovery in cases before

them. Rule 26(c) of the Federal Rules of Civil Procedure

permits a district court to issue a protective order upon a showing of “good cause”

in order to protect a party or person from “annoyance, embarrassment, oppression,

or undue burden or expense[.]” Fed. R. Civ. P. 26(c)(1).

      Here, MDOC is asking that this Court limit the dissemination of the

discovery produced by MDOC in order to protect the on-going duty MDOC has to

ensure the security and safety of its correctional facilities, the prisoners, the general

public, and its employees. Courts have consistently recognized that the “essence” of

MDOC’s business is “the security of the prison, the safety of inmates.” Everson v.

Mich. Dep’t of Corr., 391 F.3d 737, 753 (6th Cir. 2004). Courts traditionally give

deference to the judgment of MDOC regarding matters of prison security. See Id. at

754. MDOC’s request for a protective order governing the dissemination is a

reasonable request as the material requested by Plaintiff discusses, reveals, or

addresses specific security measures within MDOC’s prisons, and such information

is not usually provided to the general public. The requested protective order will

not inhibit the Plaintiff’s ability to acquire necessary discovery material. However,

the order is necessary to protect the safety and security concerns of MDOC. Thus,

for the good cause of protecting the security measures in place and preventing




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undue burdens on future security efforts in MDOC’s prisons, this Court should

grant the proposed protective order.

      Finally, the terms of the proposed protective order are reasonable and

straightforward. It applies to material that has or will be produced by MDOC.

Taken either separately or collectively the discovery material produced by MDOC

reveals information about the safety and security measures within a prison.

Dissemination of such material outside the context of this litigation may hinder the

on-going ability of MDOC to provide security and safety at its prisons. Accordingly,

the materials should be used only for litigation purposes and they should only be

viewed by authorized individuals. They should not be disclosed to others, and care

should be taken to not make the materials part of any public record on the Court’s

docket. Importantly, the protective order allows modification in the future upon a

showing of good cause.

      Under the circumstances, the protective order is appropriate and its

provisions are typical for a case such as this one.




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                     CONCLUSION AND RELIEF REQUESTED

        Defendant MDOC respectfully request that this Court enter the proposed

protective order, and grant any other relief that Court deems appropriate.




                                             Respectfully submitted:

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